1                                                        Honorable Judge Marc Barreca
                                                         Chapter 13
2                                                        Hearing Location: Marysville
                                                         Hearing Date: January 9, 2019
3                                                        Hearing Time: 9:00 a.m.
4

5

6                                 UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF WASHINGTON
7
     In re:                                              CASE NO.: 18-14240-MLB
8
     Fernando Anatolio Soberanis                         CHAPTER 13
9
     Carlene Rodrigues Mascarenhas,
10                                                       OBJECTION TO CONFIRMATION
              Debtors.                                   BY SETERUS, INC. AS THE
11                                                       AUTHORIZED SUBSERVICER FOR
                                                         FEDERAL NATIONAL MORTGAGE
12                                                       ASSOCIATION (“FANNIE MAE”)

13            Seterus, Inc. as the authorized subservicer for Federal National Mortgage Association
14   (“Fannie Mae”) (“Creditor”), objects to confirmation of the proposed chapter 13 plan (The
     “Plan”) of Fernando Anatolio Soberanis and Carlene Rodrigues Mascarenhas (“Debtors” herein).
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     The basis for this objection is that the Plan does not comply with the provisions of Title 11,
16
     chapter 13 of the United States Bankruptcy Code and thus should not be confirmed by the Court.
17

18
                                              I.    BACKGROUND
19
              On or about December 21, 2007, Fernando A. Soberanis and Carlene R. Mascarenhas
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     executed and delivered a note in favor of First Horizon Home Loans in the original principal
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     amount of $417,000.00. This Note was secured by a Deed of Trust (“Deed”) encumbering real
22   property commonly described as 19199 Rainier View Road Southeast, Monroe, WA 98272
23   (“Property”). Creditor is the holder of the note or services the note for the holder.
              On October 31, 2018, Debtors filed for protection under Title 11, chapter 13 of the
24
     United States Code under cause number 18-14240-MLB in the above listed court.
25

26   Objection to Confirmation - 1                                             McCarthy & Holthus, LLP
     MH# WA-18-150224                                                          108 1st Avenue South, Ste. 300
                                                                               Seattle, WA 98104
27                                                                             (206) 596-4856

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1             The outstanding balance due on the Note as of filing is approximately $374,414.29. As
     of the same date the loan is contractually due for the November 1, 2018 payment.
2
              The pre-petition arrears, including escrow advances and shortage, is approximately
3
     $3,304.41 as will be detailed in Creditor’s filed proof of claim. The monthly payment due as of
4    November 1, 2018 was $2,251.84.
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6                                     II.     ARGUMENT AND AUTHORITY

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              Under 11 U.S.C. § 1325 (a)(1) and 1322 (b)(5) a plan must provide for the cure of an
8    existing default within a reasonable time and require the maintenance of payments while the case

9    is pending on a secured claim on which the last payment is due after the date on which the final
     payment under the plan is due. In the case at bar, the proposed plan fails to treat or pay the
10
     accrued arrears.
11

12                                            III.     CONCLUSION

13
              For the reasons listed above, the chapter 13 plan as proposed fails to comply with the
14   requirements of United States Code Title 11. Therefore, Creditor respectfully requests the Court
15   deny confirmation of the proposed Chapter 13 plan. If the court sustains this objection and
     denies confirmation, Creditor respectfully requests that the Court set a deadline by which an
16
     amended plan is to be filed. Creditor further requests that if the Debtor does not file the
17
     Amended Plan by the date imposed by the Court, that the Trustee be permitted to submit an order
18   dismissing the bankruptcy case for failure to comply with the order of the court.
19

20   Dated: November 21, 2018                        McCarthy & Holthus, LLP

21
                                                     /s/ Lance E. Olsen
22                                                   Lance E. Olsen, Esq. WSBA# 25130
                                                     Michael S. Scott WSBA# 28501
23                                                   Attorneys for Movant
24

25

26   Objection to Confirmation - 2                                             McCarthy & Holthus, LLP
     MH# WA-18-150224                                                          108 1st Avenue South, Ste. 300
                                                                               Seattle, WA 98104
27                                                                             (206) 596-4856

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1
                                              CERTIFICATE OF SERVICE
2
              On 11/21/2018, I served the foregoing OBJECTION TO CONFIRMATION on the following individuals
3    by electronic means through the Court’s ECF program:

4              TRUSTEE                              DEBTORS’ COUNSEL
               Jason Wilson-Aguilar                 Christina L Henry
5              courtmail@seattlech13.com            mainline@hdm-legal.com

6

7
              I declare under penalty of perjury under the laws of the United States of America that the foregoing
8    is true and correct.

9                                                                            /s/ Salvador Arroyo
                                                                             Salvador Arroyo
10
             On 11/21/2018, I served the foregoing OBJECTION TO CONFIRMATION on the following individuals
11   by depositing true copies thereof in the United States mail, enclosed in a sealed envelope, with postage paid,
     addressed as follows:
12
               DEBTORS
               Fernando Anatolio Soberanis, 19199 Rainier View Rd SE, Monroe, WA 98272
13
               Carlene Rodrigues Mascarenhas, 19199 Rainier View Rd SE, Monroe, WA 98272
14
               US TRUSTEE
15             700 Stewart St Ste 5103, Seattle, WA 98101

16

17            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
18                                                                           /s/ wai tang
                                                                             wai tang
19

20

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22

23

24

25

26   Certificate of Mailing- 3                                                        McCarthy & Holthus, LLP
     MH#WA-18-150224                                                                  108 1st Avenue South, Ste. 300
                                                                                      Seattle, WA 98104
27                                                                                    (206) 596-4856

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